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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
  OLGA M. NATAL ROSADO,
                Plaintiff,
                                                             Civ. Action No.
  v.                                                     1:23-cv-3761-TWT-JKL
  DEKALB COUNTY SCHOOL
  DISTRICT,
                Defendant.

       PLAINTIFF’S RESPONSE TO DEFENDANT’S OBJECTIONS TO
            THE NON-FINAL REPORT & RECOMMENDATION

         Plaintiff Olga M. Natal Rosado (Natal) responds to Defendant DeKalb
  County School District (DCSD)’s Objections to the Non-Final Report and

  Recommendation (R&R) issued by Magistrate Judge John K. Larkins III on
  July 26, 2024 (Doc. 26), as follows:

                    FACTS AND PROCEDURAL HISTORY 1
  I.     Procedural background
         After being constructively terminated from her position as an English

  Learner Success Facilitator, Plaintiff Natal filed an EEOC charge alleging

  discrimination and retaliation against her by DCSD. Doc. 13-1 at 1. In the
  “Discrimination Based on Box” she marked national origin, age, and

  retaliation. Id. In her statement of facts, after describing her history of
  rejected applications for promotions, she stated, in pertinent part, “I believe
  that I have been discriminated against because of my Hispanic heritage/

  national origin (Puerto Rican).” Id. The EEOC issued Natal Rosado a right-
  to-sue letter on May 25, 2023. Doc. 13-2 at 1.


1 This Response tracks DCSD’s Objections very closely but has important differences.
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          Natal Rosado then initiated this action by filing her Complaint, which

  she later amended. See Doc. 1; Doc. 13. 2 She brought claims for national

  origin discrimination and disparate impact under Title VII of the Civil Rights
  Act of 1964 (Counts I and IA); race discrimination and disparate impact
  under Title VII (Counts II and IIA); retaliation under Title VII (Count III);
  race discrimination under 42 U.S.C. § 1981 (Count IV); and retaliation under

  § 1981 (Count V); and age discrimination and disparate impact under the Age
  Discrimination in Employment Act (ADEA) (Count VI and VIA). Doc. 13 ¶¶

  22–79.

          After briefing on DCSD’s motion for judgment on the pleadings,
  Magistrate Judge Larkins recommended dismissing (1) the Title VII and

  ADEA counts to the extent they rely on post-charge acts of discrimination or
  retaliation; (2) the Title VII and ADEA counts to the extent they rely on alleged

  discrimination prior to May 28, 2020; (3) Counts III and V to the extent they
  are premised on the theory that Natal Rosado’s resignation constituted

  constructive discharge; and (4) Count VIA. Doc. 26 at 20.

  II.     DCSD’s Motion for Judgment on the Pleadings
          After answering, DCSD filed a motion for partial judgment on pleadings.
  See generally Doc. 17. As relevant to these objections, DCSD argued that Natal

  Rosado failed to exhaust administrative remedies with regard to her race-
  based Title VII claims because, in her EEOC charge, “she failed to indicate

  that she believed she had been discriminated against based on her race,

  and, in her statement of facts, made no allegations tying any actions by
  DCSD to her race.” Doc. 17 at 7. Natal Rosado responded, arguing that her

2 Plaintiff does not dispute that the differences between her initial and amended complaints are

immaterial to these objections. See Doc. 17 at 2 n. See also Doc.22 at 3 n.
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   charge was sufficient to exhaust a race-based claim because she referred to

   herself as “Hispanic.” Doc. 22 at 8–10.

          Ultimately, Magistrate Judge Larkins agreed with Natal Rosado that
   her reference3 to her “Hispanic” origin was sufficient to put the EEOC on

   notice that she intended to pursue a race-based claim. Doc. 26 at 8–9. As the

   R&R explained, Magistrate Judge Larkins read Natal Rosado’s allegation of

   discrimination based on her “‘Hispanic heritage/ national origin’” to “suggest[]
   that she was complaining about discrimination based on two separate

   categories.” Id. at 8. DCSD’s motion, the R&R said, relied on “[t]he simple fact

   that [Natal Rosado] did not check the ‘Race’ discrimination box on her EEOC

   complaint,” but that failure was insufficient to preclude her from brining

   race-based claims. Id. at 9.

                                          ARGUMENT
          DCSD objected to the portion of the R&R concluding that Natal Rosado

   sufficiently exhausted her claims of race discrimination under Title VII

   (Counts II & IIA). See Doc. 26 at 6–9. DCSD contends Magistrate Judge
   Larkins erred in concluding that Natal Rosado’s reference4 to her “Hispanic

   heritage” is sufficient in this context to exhaust a claim of race discrimination
   and in reducing DCSD’s argument to relying on “[t]he simple fact that [Natal
   Rosado] did not check the ‘Race’ discrimination box on her EEOC complaint.”

   Id. at 9. Because DCSD’s argument is without substance, the Court should
   not overrule the R&R on that issue and dismiss Counts II and IIA as

   unexhausted, but rather should leave the R&R undisturbed on this issue

3 DCSD refers to this reference as “fleeting,” but that mischaracterizes the reference.   In a short
EEOC charge, the characterization of any word as a fleeting reference fails to recognize the
brief nature of the charge itself.
4 DCSD refers to the reference as a “mere” reference, but as in fn. 3, a reference is a reference in

an EEOC Charge.
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without any dismissals.

       The permissible scope of the complaint in a Title VII case is limited “by

the scope of the EEOC investigation which can reasonably be expected to grow
out of the charge.” Gregory v. Ga. Dep’t of Human Res., 355 F.3d 1277, 1280

(11th Cir. 2004). That is, a plaintiff may raise only those claims that are “like
or related to, or grew out of,” the allegations in the charge.” Id. at 1279–80

(quoting Wu v. Thomas, 863 F.2d 1543, 1548 (11th Cir. 1989)) (quotation marks
omitted). DCSD argues it is well established that when a plaintiff’s EEOC
charge raises of claim of discrimination based on her membership in one

protected class, a later claim based on her membership in a different

protected class is not like or related to the original claim, citing Shah v.

Dobbs Temporary Servs. Inc. Prostaff Personnel, No. 1:05-cv-1706, 2006 WL
8432901, at *4 (N.D. Ga. Apr. 24, 2006) (collecting cases) report and

recommendation adopted, 2006 WL 8432916 (June 28, 2006). DCSD further

argues this rule applies even as to national origins that have substantial
overlap with racial classifications, citing See, e.g., Shah v. Dobbs Temp.

Servs., Inc., No. 1:05-cv-1706, 2007 WL 9701242, at *4 (Indian woman whose

racial identity was “Hindu” failed to exhaust claim of national origin
discrimination by filing charge of race discrimination against Hindus); Delly v.

H.I.R.E. Inc., No. 04 CV 1481(JG), 2004 WL 2297821, at *3–4 (E.D.N.Y. Oct.
13, 2004) (black, Haitian plaintiff’s charge of national origin discrimination did

not exhaust claim of race discrimination).5


5 DCSD notes that in resisting the conclusion that Natal had not exhausted the race issue,

Natal relied primarily on Deravin v. Kerik, 335 F.3d 195 (2d Cir. 2003). But in concluding
that the plaintiff’s charge of race discrimination had sufficiently exhausted his claim of race
discrimination, the Deravin court relied primarily on the specific allegations of the charge,
which described differing treatment between white and non-white employees. 355 F.3d at
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       The problem for DCSD is that Natal did what these other charging

parties did not.         She explicitly did mention her Hispanic race and

discrimination based on it, sans checking the box, which caselaw clearly
overlooks. As Plaintiff argued in her surreply,6 which was allowed, it is as if
DCSD is applying a sort of confused ejusdem generis argument whereby
items in a group are not of the same kind, but rather the same. But, that

leads to an absurd result. If there is an intent to list multiple items, why
would they be assumed to be the same? Here the words “national origin” and

“Hispanic heritage” are like in that they are each a basis of discrimination,
but they are not the same one: One is a national origin specified as Puerto

Rican; the other is a racial designation, heritable Hispanic ancestry.

       While DCSD claims Magistrate Judge Larkin’s conclusion that any
reference to Latin American or Hispanic origin is sufficient to exhaust a race-

based claim all but eliminates any distinction between race and national

origin, DCSD is trying to suggest a theoretical false dichotomy that definitely

is not at issue in the instant case because of the wording and sentence

structure used by Natal. DCSD admits that in many cases the race/national

origin distinction is difficult to draw, citing See Village of Freeport v. Barrella,
814 F.3d 594, 607 (2d Cir. 2016) (recognizing that “courts and litigants alike


201–02. DCDS then argues it is thus not analogous to Natal Rosado’s charge, which
contained no allegations of disparate treatment and merely recited that she was
discriminated against based on Puerto Rican origin, citing Doc. 13-1 at 1. DCSD has made
a distinction that simply does not apply to the instant case. Natal said, “I believe that I
have been discriminated against because of my Hispanic heritage/ national origin (Puerto
Rican), in violation of Title VII of the Civil Rights Act of 1964, as amended,” Doc. 13-1 at 1.
DCSD wants to strictly construe something that is not to be strictly construed, and even if
the construction were strict, the mention of two things separately (“Hispanic heritage/
national origin (Puerto Rican)”) indicates those two things are distinct and not the same.

6 Doc. 25-1, at 2.
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have struggled with the proper characterization of claims based on

Hispanicity”), 7 but fails to appreciate that supports Magistrate Judge

Larkin’s analysis.      Adopting this view of the exhaustion requirement does
not undermine its purpose, which is, as stated by DCSD, to put the EEOC
and the employer on notice of the specific claims against it, in order to
encourage conciliation or voluntary compliance, citing See Gregory, 355 F.3d

at 1279. Natal contends her mention of race is clear; however, were it not, the
ambiguity would call for DCSD and the EEOC alike to explore both

possibilities. Accordingly, the Court should accept the R&R to the extent it
concludes that Natal properly exhausted her race-based Title VII claims

(Count II and IIA).

       Additional cases are also supportive of Plaintiff’s position:

    Here, while Plaintiff's charge did not check the box "race," the
    narrative portion of the charge states "I believe I am being
    discriminated against because of my national origin/Hispanic." By
    using the term "Hispanic," the EEOC was put on notice to
    investigate her claims of race discrimination. See Bravo v. American
    Honda Finance Corp., No. 3:10-cv-64, 2010 U.S. Dist. LEXIS 63135,
    2010 WL 2572862, at *2 (W.D.N.C. Jun.24, 2010) (finding that "race"
    and "national origin" are reasonably related when plaintiff may have
    been unsure of whether to classify Hispanic as "race" or "national
    origin" and thus, failed to check the box "race" on her EEOC charge,
    but was adamant in the charge that she was discharged because of
    her Hispanic nationality); Torres v. City of Chicago, No. 99 C 6622,
    2000 U.S. Dist. LEXIS 6000, 2000 WL 549588, at * 2 (N.D. Ill. May

7 DCSD    says that although not briefed before the magistrate judge, it is not clear that
Hispanicity constitutes a race within the meaning of Title VII, citing See Barrella, 814 F.3d
(2nd Cir.) at 606–07 (analyzing whether Hispanic origin is a “race” within the meaning of
Title VII); Amos v. Tyson Foods, Inc., 153 F. App’x 637, 643–45 (11th Cir. 2005) (analyzing
claim of discrimination against Hispanic employees as one of national-origin
discrimination); Garcia v. Gloor, 618 F.2d 264, 267–71 (5th Cir. 1980) (same). However,
none of these citations, if in fact correctly cited, preclude the Court from finding race
invoked in the EEOC charge on the facts of the instant case.
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   1, 2000) (noting that while the term [*30] "Hispanic" does not
   literally designate either race or national origin, it is understood to
   imply both and therefore found that EEOC could be expected to
   investigate race claim based on allegation in EEOC charge of
   national origin discrimination). 7 Furthermore, the evidence remains
   the same with respect to both the national origin and race
   discrimination claims, thus any investigation by the EEOC into
   either race or national origin discrimination would have revealed the
   same evidence.


Alvarado v. Boca Raton Cmty. Hosp., No. 09-81598-CIV, 2010 U.S. Dist.
LEXIS 106678, at *29-30 (S.D. Fla. Oct. 6, 2010).

   Going beyond the distinction between "race" and "national origin"
   generally, the Union and Pasco argue that "Hispanic" is not a racial
   classification, and thus Plaintiff Booth's race claims should be
   thrown out. However, "Hispanic" is often understood to refer to
   someone's race. Alonzo v. Chase Manhattan Bank, 25 F. Supp. 2d
   455 (S.D. N.Y. 1998). The plaintiff in Alonzo only used the term
   "Hispanic" in his EEOC charge, and the court refused to dismiss his
   complaint and held that the charge of discrimination encompassed
   both race and national origin claims. Id. at 460. The court
   determined that the terms "Hispanic" and "Hispanic origin" could
   encompass claims for          both  race and       national origin
   discrimination. Id. at 459. The common use of the term "Hispanic"
   has blurred the line between race and national origin
   discrimination. Salas v. Wisconsin Dept. Of Corr. 493 F.3d 913 (7th
   Cir. 2007).
         Plaintiff Booth used the term "Hispanic background" in his
   claim. The term "Hispanic [*27] background" encompasses both race
   and national origin discrimination claims. Furthermore, where
   claims are based on identical facts, just as they are in Plaintiff
   Booth's Complaint, the claims are related. Grey v. City of Norwalk
   Bd. Of Education, 304 F. Supp. 2d 314, 323 (D.Conn. 2004).


Booth v. Pasco Cnty., No. 8:09-CV-02621-T-30TBM, 2010 U.S. Dist. LEXIS
80287, at *26-27 (M.D. Fla. July 13, 2010).
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   I have used "ethnicity" or "ethnic identity" to describe a juror's
   Hispanic origin wherever possible, but in some instances the case
   law refers to a juror's Hispanic "race." However, the Supreme Court
   appears to use "race" and "ethnicity" interchangeably in the Batson
   context, at least when discrimination against jurors of Hispanic or
   Latino origin is at issue. See United States v. Martinez-Salazar, 528
   U.S. 304, 315, 145 L. Ed. 2d 792, 120 S. Ct. 774 (2000) ("Under the
   Equal Protection Clause, a defendant may not exercise a peremptory
   challenge to remove a potential juror solely on the basis of the juror's
   gender, ethnic origin, or race."). Compare Hernandez v. New York,
   500 U.S. 352, 355, 114 L. Ed. 2d 395, 111 S. Ct. 1859 (1991)
   (plurality opinion) (stating that a Batson violation would occur if "the
   prosecutor in [the petitioner's%) criminal trial exercised peremptory
   challenges to exclude Latinos from the jury by reason of their
   ethnicity"), with id. at 372 (O'Connor, J., concurring in the judgment)
   ("In order to demonstrate [a Batson] violation, Hernandez must
   prove that the prosecutor intentionally discriminated against
   Hispanic jurors on the basis of their race.").


United States v. Ochoa-Vasquez, 428 F.3d 1015, 1052 n.8 (11th Cir. 2005).
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                              CONCLUSION
      Because Magistrate Judge Larkins did not err by, as DCSD alleges
with tortured wording, concluding that Natal Rosado’s claim of national

origin discrimination in her EEOC was sufficient to exhaust a claim based on
a different protected class, this Court should accept the R&R as to that issue

and not dismiss Natal Rosado’s Title VII race-based claims. Natal properly
raised the issue of discrimination based on race, and Magistrate Judge

Larkins reported and recommended properly on this issue.

      Respectfully submitted this 17th day of September, 2024.

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                   CERTIFICATE OF COMPLIANCE
     Counsel for Plaintiff Olga M. Natal Rosado certifies that the foregoing
brief is set in 13-point Century Schoolbook type and is under 25 pages, in
compliance with Local Rules 5.1(B) and 7.1(D).

     Dated September 17, 2024.
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                      CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the foregoing

PLAINTIFF’S RESPONSE TO DEFENDANT’S OBJECTIONS TO

THE FINAL REPORT AND RECOMMENDATION upon all counsel of

record by electronically filing same with the CM/ECF filing system, and that

service of the following individuals will be accomplished by CM/ECF system:


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